Case 1:05-cr-10012-.]DT Document 9 Filed 04/25/05 Page 1 of 2 Page|D 12

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Easteru Division

    

UNITED STATES OF AMERICA "=i.§£- ‘ ,»’~`U `S/O /f;ff{ ;:,/U
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t,, infC/'
-vs- Case No. 1 05cr10({i‘§@§@)("i`

JAMES CURTIS BAKER

 

ORDER OF DETENT|ON PENDING TRlAL
FlNDlNGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECTlONS REGARDING DETENT|ON

JAMES CURTIS BAKER is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. JAMES CURTIS BAKER shall be afforded a reasonable opportunity for
private consultation with defense counsel. On order cfa Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding. _
,___.___

Date: April 25, 2005
S. THOMA ANDERSON
UNITED STATES MAGISTRATE JUDGE

Thls document entered on the docket co nos
with ama 55 and/or 32(b) FRch on @ 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case l:OS-CR-10012 was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

